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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GEORGE LOPEZ, et al.,                        :      Civil No. 3:21-CV-1819
                                             :
      Plaintiffs                             :
                                             :      (Judge Conner)
v.                                           :
                                             :
JOHN WETZEL, et al.,                         :      (Magistrate Judge Carlson)
                                             :
      Defendants                             :

                              MEMORANDUM ORDER

      THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

      This is a pro se prisoner civil rights action brought by six inmates held by the

Department of Corrections challenging what they allege was unconstitutionally

prolonged and severe solitary confinement by corrections staff. (Doc. 1). On

November 10, 2023, this case was referred to the undersigned for case management.

      Upon review, we noted that there were a number of motions pending in this

case, including motions filed by an inmate plaintiff, George Lopez, requesting an

extension of the discovery deadline, (Doc. 161), and appointment of counsel. (Docs.

138, 162). We also not that we have entered an order directing the arties to brief

whether the claims of these six inmates should be brought as separate complaints.

(Doc. 160). Thus, presently there are unresolved questions concerning the future

configuration of this case.
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      In light of the current status of this litigation, IT IS ORDERED as follows:

The motion for extension of the discovery deadlines (Doc. 161) is GRANTED and

the revised discovery deadline in this case is February 5, 2024.

      So ordered this 4th day of December 2023.


                                             S/ Martin C. Carlson
                                             Martin C. Carlson
                                             United States Magistrate Judge




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